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 9                               UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA

11
     KIMETRA BRICE, EARL BROWNE, and JILL                  Case No.: 3:19-cv-01481-WHO
12   NOVOROT,
                                                           STIPULATION OF DISMISSAL WITH
13    Plaintiffs,                                          PREJUDICE
     v.
14                                                         Hon. William H. Orrick
15   MIKE STINSON; LINDA STINSON; 7HBF NO.
     2, LTD.; STARTUP CAPITAL VENTURES, L.P.;
16   STEPHEN J. SHAPER,

17            Defendants
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                               STIPULATION OF DISMISSAL WITH PREJUDICE
                                  (CIVIL ACTION NO. 3:19-CV-01481-WHO)
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 1           On August 16. 2022, a settlement resolving Plaintiffs’ claims in this Action against Defendants

 2   Michael Stinson, Linda Stinson, 7HBF No. 2, Ltd., Stephen J. Shaper (“Defendants”) was finally approved

 3   by the U.S. District Court for the Eastern District of Virginia. See Gibbs v. Stinson, No. 3:18-cv-676, ECF

 4   No. 346 (E.D. Va. Aug. 16, 2022). As a result of the settlement between the Parties, Plaintiffs and

 5   Defendants hereby stipulate to the dismissal with prejudice of all claims against Defendants pursuant to

 6   Federal Rule of Civil Procedure 41(a)(1)(A)(ii); each Party to bear their own costs and attorneys’ fees.

 7   Pursuant to this stipulation, the parties further agree that the Court retains jurisdiction to enforce the prior

 8   Orders in this case.

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10           AND THIS CAUSE IS ENDED.

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12   Dated: September 6, 2022                 Respectfully submitted,

13
                                              By: /s/ Anna C. Haac
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                                 STIPULATION OF DISMISSAL WITH PREJUDICE
                                   (CIVIL ACTION NO. 3:19-CV-01481-WHO)
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14                                       7HBF No. 2, Ltd., Stephen J. Shaper

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16   PURSUANT TO THE STIPULATION, IT IS SO ORDERED.

17
     Dated: September 6, 2022                     _________________________________
18                                                 Honorable Judge William H. Orrick
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                                STIPULATION OF DISMISSAL WITH PREJUDICE
                                 (CIVIL ACTION NO. 3:19-CV-01481-WHO)
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 1                                              ATTESTATION
 2            I, Anna C. Haac, am the ECF user whose ID and password authorized the filing of this
 3   document. Under Civil Local Rule 5-1(i)(3), I attest that all signatories to this document have concurred
 4   in this filing.
 5

 6   Dated: September 6, 2022                By                    /s/ Anna C. Haac
                                                                     Anna C. Haac
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                                  (CIVIL ACTION NO. 3:19-CV-01481-WHO)
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